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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                                                                  ORDER
                     – v.–

 STEVEN PAULINO,                                              19 Cr. 54 (PGG)

                         Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

              It is hereby ORDERED that the Defendant’s sentencing, previously scheduled for

November 10, 2020, is adjourned to December 2, 2020 at 3:00 p.m. in Courtroom 705 of the

Thurgood Marshall Courthouse, 40 Foley Square, New York, New York.

Dated: New York, New York
       November 2, 2020
